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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 






GREGORY SMIKLE,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.





On Appeal from the 347th District Court of Nueces County, Texas.






MEMORANDUM OPINION


	

Before Justices Yanez, Garza, and Vela


Memorandum Opinion Per Curiam


	Appellant, Gregory Smikle, attempts to appeal a conviction for assault.  The trial
court has certified that this "is a plea-bargain case, and the defendant has NO right of
appeal."  See Tex. R. App. P. 25.2(a)(2).

	On August 14, 2008, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel's findings as to
whether appellant has a right to appeal, or, alternatively, advise this Court as to the
existence of any amended certification.

	On September 6, 2008, counsel filed a letter brief with this Court.  Counsel's
response does not establish:  (1) that the certification currently on file with this Court is
incorrect, or (2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be dismissed
if the trial court's certification does not show that the defendant has the right of appeal. 
Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4. Accordingly, this appeal is
DISMISSED.  Any pending motions are denied as moot.


							PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed 

this the 23rd day of October, 2008. 





	


